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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF LOUISIANA
                            SHREVEPORT DIVISION

BRYAN COLT TODD #83207/239871                     CIVIL ACTION NO. 19-cv-0736

VERSUS                                            JUDGE ELIZABETH E. FOOTE

CEDRIC FORD, ET AL.                               MAGISTRATE JUDGE HORNSBY


                                      JUDGMENT

       For the reasons assigned in the Report and Recommendation of the Magistrate Judge

 previously filed herein, and having thoroughly reviewed the record, no written objections

 having been filed, and concurring with the findings of the Magistrate Judge under the

 applicable law;

       It is ordered that Defendants’ Motion for Summary Judgment (Doc. 29) is

 GRANTED and that all claims against all defendants are DISMISSED WITH

 PREJUDICE.
                                                                6th
       THUS DONE AND SIGNED at Shreveport, Louisiana, this the ___________
          November
 day of ___________________, 2020.



                                              _________________________________
                                                   ELIZABETH ERNY FOOTE
                                               UNITED STATES DISTRICT JUDGE
